           ORAL ARGUMENT NOT YET SCHEDULED

                            No. 25-5217

                In the United States Court of Appeals
                 for the District of Columbia Circuit

                            J.G.G. et al.,
                                          Plaintiffs–Appellees,

                                    v.

            DONALD J. TRUMP, in his official capacity
              as President of the United States, et al.,
                                     Defendants–Appellants.


                      On Appeal from an Order
                 of the United States District Court
                     for the District of Columbia

             APPELLANTS’ EMERGENCY MOTION
               FOR A STAY PENDING APPEAL
                AND ADMINISTRATIVE STAY


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                           INTRODUCTION

     For the third time in just three months, the district court has issued

an unprecedented, baseless, and constitutionally offensive injunction

that interferes with the President’s removal of dangerous criminal aliens

from the United States. The court’s first two injunctions were blocked on

appeal. The third try is not the charm. If anything, its new sua sponte

theory—that a class of removed aliens may sue outside of habeas in order

to secure a due-process right to seek habeas, despite a conceded absence

of actual or constructive custody—is the least defensible one. This Court

should grant a stay pending appeal.

     In March, the district court issued two injunctions prohibiting the

Government from invoking the Alien Enemies Act (AEA) to remove from

the United States a group of aliens associated with the designated foreign

terrorist organization Tren de Aragua (TdA), which the President found

was entwined with the Maduro regime in Venezuela. But the Supreme

Court vacated those orders because the aliens’ challenge to their removal

had to be brought in habeas—and the District of Columbia was not the

proper venue for a habeas action on behalf of aliens held elsewhere. See

Trump v. J.G.G., 145 S. Ct. 1003, 1005 (2025) (per curiam).
     Rather than relinquish jurisdiction, the district court pressed

ahead with criminal contempt based on the Government’s supposed

failure to comply with the orders that the Supreme Court vacated. The

district court volunteered, however, that the Government could “purge”

its contempt and avoid sanctions if it took steps to regain custody over

the removed aliens, who were by then imprisoned by El Salvador, so that

the aliens could pursue habeas relief. As the Government explained in an

emergency appeal to this Court, that order violates Article II by

threatening to usurp the President’s prosecution power unless the

President agrees to give up his foreign affairs power. This Court issued

an administrative stay of that injunction, which remains in place.

     The district court has now developed a third way to reach that same

remedy. The court acknowledged, after reviewing diplomatic materials,

that the United States does not have constructive custody over the TdA

members being detained by El Salvador. That finding foreclosed the

plaintiffs’ only argument for relief. Yet the court then circumvented that

barrier by finding a due-process violation and awarding as a remedy an

order directing the Government to facilitate habeas review—exactly

what the court previously suggested as a “cure” for contempt.



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      The district court’s third try is too clever by half. The court’s lack of

habeas jurisdiction cannot be cured by reconceptualizing the suit as an

implied constitutional cause of action to provide the class with a right to

habeas. The plaintiffs’ due-process claims necessarily imply the

invalidity of their removal to El Salvador, and the district court therefore

lacked jurisdiction over those claims for the same reasons the Supreme

Court identified in the first round of this litigation.

      Moreover, even if a freestanding equitable cause of action existed

here, the court’s novel remedy is incoherent and impermissible. The

district court ordered the Government to facilitate the aliens’ ability to

seek habeas relief, but the court had already agreed there is no habeas

jurisdiction because a foreign sovereign has custody. The only way to

“facilitate” habeas review would be to somehow seize custody of the entire

class of aliens from El Salvador, either by force or through coerced

diplomacy. A federal court obviously could not order the Government to

do either. The order thus is untenable because, in the absence of custody

or control, the alleged past deprivation of the aliens’ ability to seek

habeas relief is no longer redressable in equity.




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      Put simply, the fact that the United States lacks custody or control

over the detained TdA members in El Salvador does not just deprive the

district court of habeas jurisdiction (as the court itself acknowledged).

That fact also forecloses the aliens’ ability to pursue an equitable due-

process claim as a backdoor route to a non-existent habeas remedy. The

district court’s increasingly fantastical injunctions continue to threaten

serious harm to the Government’s national-security and foreign-affairs

interests. This Court should grant a stay pending appeal.1

                             BACKGROUND

      On March 15, 2025, the President issued a Proclamation invoking

the AEA to detain and remove members of TdA, an entity designated a

foreign terrorist organization. 90 Fed. Reg. 13,033. The Proclamation

authorizes the detention and removal under the AEA of “all Venezuelan

citizens 14 years of age or older who are members of TdA, are within the

United States, and are not actually naturalized or lawful permanent

residents of the United States.” Id. § 1; see also id. § 3.



1 Because the district court’s injunction requires the Government to take

action only seven days after its issuance, the Government is concurrently
seeking a stay pending appeal below. The Government called Plaintiffs’
counsel to inform them this motion was being filed.


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      Initial Proceedings. Also on March 15, five Venezuelan nationals

detained at an immigration detention center in Texas sued in the District

of Columbia to block the Government from removing them under the

Proclamation. Although they initially sought relief under both the

Administrative Procedure Act (APA) and by a writ of habeas corpus,

those plaintiffs later dismissed their habeas claims at the district court’s

suggestion. ECF 20 at 22:1–3. The court granted an injunction as to those

plaintiffs, certified a class of “[a]ll noncitizens who were, are, or will be

subject to the Alien Enemies Act Proclamation,” and issued a second

injunction as to that class. Second Mar. 15 Minute Order.

      The Government appealed both injunctions and filed emergency

motions for stays pending appeal. This Court issued a divided ruling

denying a stay, each judge writing separately. J.G.G. v. Trump, 2025 WL

914682, at *1 (D.C. Cir. Mar. 26, 2025). The Supreme Court then vacated

the orders for lack of jurisdiction, finding that those plaintiffs’ claims fell

“within the ‘core’ of the writ of habeas corpus and thus must be brought

in habeas,” and “[f]or ‘core habeas petitions,’ ‘jurisdiction lies in only one

district: the district of confinement,’” which was not the District of

Columbia. J.G.G., 145 S. Ct. at 1005.



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     Contempt Proceedings. By the time the district court issued its

second injunction on March 15, some members of the original class had

already been removed from the United States. They later arrived in El

Salvador and were detained under El Salvador’s own authority. ECF 129

at ¶¶ 9–10. That led to further rounds of litigation.

     On April 16, the court issued an order finding probable cause that

the Government was in criminal contempt of its vacated orders for having

failed to return to the United States the aliens who had been removed

before the relevant order issued. ECF 80. The court offered that the

Government could “purge” its contempt “by asserting custody of the

individuals who were removed,” so they could seek habeas review. ECF

81 at 43–44. Otherwise, the court said that it would seek prosecution,

including by appointing a private prosecutor if necessary. Id. at 44.

     The Government immediately sought relief, explaining that the

order required the President either to give up his foreign-affairs power

by asserting custody over aliens held by a foreign sovereign, or his

prosecutorial power by charging his own officials with contempt. This

Court granted an administrative stay that remains in place. See J.G.G.

v. Trump, 2025 WL 1151208, at *1 (D.C. Cir. Apr. 18, 2025).



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     Order Below. Separately, the district court invited plaintiffs to

amend their complaint to address factual developments since March. A

new set of Petitioners–Plaintiffs, most of whom were already confined in

El Salvador, then joined the case. ECF 101 at ¶¶ 12–17. They sought a

writ of habeas corpus, and moved to certify a class consisting of “[a]ll

noncitizens in custody at the Terrorism Confinement Center (‘CECOT’)

in El Salvador who were, are, or will be subject to the March 2025

Presidential Proclamation entitled ‘Invocation of the Alien Enemies Act

Regarding the Invasion of the United States by Tren De Aragua’ and/or

its implementation.” ECF 103-3 at ¶ 3(a). 2

     These plaintiffs then moved for a preliminary injunction directing

the Government to “to immediately request and take all reasonable steps

to facilitate (i) the release of the CECOT Subclass from the CECOT prison

in El Salvador, and (ii) the return of the CECOT Subclass to the United

States.” ECF 102-15 at ¶ 1.



2 One Petitioner, T.C.I., is currently in criminal custody in New Jersey.

ECF 101 at ¶ 18. The district court denied his motion for a preliminary
injunction and for class certification of a putative “criminal custody” class
of aliens detained in the United States who fear future removal under
the AEA. See generally ECF 148. Those claims are not at issue in this
appeal.


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     In opposition, the Government pointed out that the court lacked

habeas jurisdiction because the United States does not have constructive

custody over these plaintiffs. ECF 108 at 5–12. After a hearing and after

the Government filed under seal documents demonstrating that the

United States lacks constructive custody over the CECOT detainees, see

ECF 118-1 to -6, the district court ordered additional discovery into the

issue of constructive custody.

     Following subsequent productions and further briefing, the district

court held that it lacked jurisdiction over the CECOT detainees’ habeas

claims because they had not shown that they were in the United States’

custody. ECF 148 (“Op.”) at 15–27.

     Nevertheless, the district court held that it did have jurisdiction in

equity over these plaintiffs’ freestanding claim that their removal to El

Salvador violated their due-process rights. Id. at 27–31. The court then

unilaterally modified the putative class and certified it as modified. Id.

at 63. The district court granted a preliminary injunction based on this

due-process claim, ordering the Government to “facilitate the ability of

the CECOT Class to seek habeas relief.” ECF 147 at ¶ 3. The Government

timely appealed. ECF 149.



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                         LEGAL STANDARD

     In considering whether to grant a stay pending appeal, this Court

asks whether the applicant (1) “is likely to succeed on the merits,” (2)

“will be irreparably injured absent a stay,” (3) whether a stay will not

“substantially injure” other interested parties, and (4) whether a stay is

in the “public interest.” Nat’l Treasury Emps. Union v. Trump, 2025 WL

1441563, at *1 (D.C. Cir. May 16, 2025).

                               ARGUMENT

I.   The Government Is Likely to Prevail on the Merits.

     The Government is likely to succeed on appeal because the district

court’s analysis is fundamentally incoherent. The court agreed that the

United States does not have actual or constructive custody over plaintiffs,

and therefore that there is no jurisdiction for their claims in habeas. Yet

the court sua sponte recognized a freestanding due-process claim by

which plaintiffs could seek the opportunity to pursue habeas relief. That

does not cure the jurisdictional problem. Further, the lack of custody

means the Government cannot “facilitate” habeas review—at least not

without engaging in military or diplomatic efforts that courts lack

authority to order. Plaintiffs thus cannot seek equitable relief for these

past due-process violations.

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     A.    Because there is no constructive custody, the district
           court lacked jurisdiction.

     The Supreme Court made clear that challenges to the Proclamation

(or to detention or removal pursuant thereto) must be brought in habeas

in the district of confinement. J.G.G., 145 S. Ct. at 1005. Since plaintiffs

are being held in El Salvador, the district court could only have habeas

jurisdiction over this case if the Government had constructive custody.

Based on the evidence produced below, the court correctly concluded that

the United States does not have constructive custody. Op. at 22–27.

     Constructive custody exists only if “the imprisoning sovereign is the

respondent’s agent.” Abu Ali v. Ashcroft, 350 F. Supp. 2d 28, 47 (D.D.C.

2004). Here, however, the evidence shows that plaintiffs are being held

under the authority of El Salvador alone. See Op. at 24; Redacted Kozak

Decl. at ¶¶ 9–10. Nor does the United States have control or even a

presence at the detention facility. See Al Maqaleh v. Gates, 605 F.3d 84,

97 (D.C. Cir. 2010) (lack of control over leased Air Force base meant no

habeas). Based on a fulsome record following jurisdictional discovery, the

district court correctly ruled that the United States lacks constructive

custody over the aliens held at CECOT and therefore that the court lacks

jurisdiction over their habeas claims. Op. at 27.


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     That should have been the end of this case. Indeed, as to the aliens

held in El Salvador, this was the only theory that plaintiffs’ counsel even

pursued below. See ECF 102 (no mention of equitable claim for due

process). Yet the district court sua sponte reasoned that it could exercise

jurisdiction over a standalone due-process claim targeting the

Government’s failure to provide sufficient notice to plaintiffs before they

were removed under the AEA. Op. at 30.

     Doing so was reversible error, even apart from the merits. The

Supreme Court has made clear that courts are not advocates; they must

evaluate the theories pressed to them, not come up with their own. See

United States v. Sineneng-Smith, 590 U.S. 371, 375 (2020). Having

rejected plaintiffs’ constructive-custody theory, the district court should

not have developed a substitute alternative theory on its own accord.

     That theory was also plainly wrong. This retrospective claim of

inadequate notice is, in purpose and effect, a challenge to plaintiffs’

removal. It therefore sounds in habeas—no less than the constitutional

claims asserted by the original plaintiffs, which the Supreme Court held

had to be pursued through habeas. The district court’s transparent

workaround will not withstand merits scrutiny on appeal.



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      As the Supreme Court said in rejecting the district court’s first set

of orders, because plaintiffs’ “claims for relief ‘necessarily imply the

invalidity’ of their confinement and removal under the AEA, their claims

fall within the ‘core’ of the writ of habeas corpus and thus must be

brought in habeas.” J.G.G., 145 S. Ct. at 1005 (quoting Nance v. Ward,

597 U.S. 159, 167 (2022)). Applying this logic, the Court vacated the

district court’s orders that were, in part, premised on a due-process claim

that plaintiffs did not receive adequate notice before removal. Id. at 1006;

ECF 1 at ¶¶ 101–04.

      The district court’s new concocted due-process claim is no different.

Since that claim is not brought in habeas (because there is no habeas

jurisdiction), this order fails just like the first. The district court’s novel

due-process claim sounds in habeas for at least two reasons. First, notice

is core to due process and “due process rights have historically been

vindicated by the writ of habeas corpus.” Hamdi v. Rumsfeld, 542 U.S.

507, 555 (2004) (Scalia, J., dissenting). So due-process claims are core

habeas claims. See Brown v. Davenport, 596 U.S. 118, 128–29 (2022)

(“[H]abeas was no less than ‘the instrument by which due process could

be insisted upon.’”).



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     Second, the point of the due-process claim is to challenge the

validity of plaintiffs’ removal. Their argument is that they did not get

enough process prior to removal and thus were unable to dispute the

basis for that removal. See Op. at 67; I.M. v. U.S. Customs & Border Prot.,

67 F.4th 436, 443 (D.C. Cir. 2023) (rejecting argument that request for a

hearing by itself did not reflect a habeas remedy, as it is sufficient that

“a removal hearing can result in release”). The district court

acknowledged this when it said that the violation requires “restoration of

the status quo ante and an injunction barring deprivation of the

plaintiff’s rights without the requisite procedural protections.” Op. at 36

(quotation omitted). Restoration of the status quo means undoing the

removal, thus “necessarily imply[ing] the invalidity” of the removal.

J.G.G., 145 S. Ct. at 1005

     The district court’s attempt to separate the due-process challenge

from a challenge to the validity of removal slices the baloney far too thin.

Op. at 30. If the district court were right, due-process challenges to a

criminal defendant’s trial would not challenge the validity of the

conviction. But such due process claims are core to habeas and cannot be

brought through standalone equitable challenges. See Mack v. City of



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Chicago, 723 F. App’x 374, 376 (7th Cir. 2018) (“Mack’s due-process claim

based on an unfair criminal trial necessarily would impugn the validity

of his conviction”); Dominguez v. Hendley, 545 F.3d 585, 588 (7th Cir.

2008) (“[A] § 1983 claim for a due process violation based on the denial of

a fair criminal trial may be brought only after the conviction is set

aside.”). So too for challenges to a lack of notice prior to a hearing. See

Early v. Blankenship, 221 F.3d 1342 (8th Cir. 2000) (challenge to notice

of disciplinary hearing “would necessarily imply the invalidity of [the]

disciplinary result” and thus must be brought in habeas). The due-

process claim strikes at the heart of the validity of the removals, and

packaging the claim as notice-related does nothing to change that fact.

     The district court’s analysis is not helped by the Supreme Court’s

dicta that it is “skeptical of the self-defeating notion that the right to the

notice necessary to actually seek habeas relief . . . must itself be

vindicated through individual habeas petitions, somehow by plaintiffs

who have not received notice.” A.A.R.P. v. Trump, 145 S. Ct. 1364, 1370

(2025) (cleaned up). The majority in A.A.R.P. was responding to the

dissent’s arguments regarding class-wide relief, and defending the

proposition that such claims could proceed for a putative class—not that



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they could proceed outside of habeas. Id. Indeed, that case was a habeas

action, filed in the correct venue. Id. Nothing in A.A.R.P. calls into the

question the Supreme Court’s ruling in this case, just weeks earlier, that

challenges to AEA detention or removal must proceed in habeas. And if

anything, the district court’s due-process theory here is even more of a

“core” habeas challenge given that it involves removals that have already

occurred (and thus that would necessarily be invalidated if plaintiffs

prevail). The district court was unable to metamorphosize plaintiffs’

habeas claims into a standalone equitable due-process claim.

      B.    Plaintiffs cannot bring a freestanding, retrospective
            due-process claim for injunctive relief.

      Even setting jurisdiction aside, the court’s injunction remains

indefensible, because the purely retrospective due-process claim that the

court identified is not redressable in equity. Indeed, there is no way for

the district court to order effective injunctive relief. Plaintiffs are not in

United States custody. And the separation of powers prevents the district

court from ordering the Executive to retake custody from El Salvador—

that would be akin to ordering an invasion of a foreign country or a

directive to negotiate a diplomatic deal, neither of which falls within the

scope of the Judicial power.


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     Again, the district court correctly recognized that the United States

does not have constructive custody over plaintiffs, and so the court lacked

jurisdiction to hear their habeas challenges. Op. at 23–24. Still, the court

ruled that plaintiffs’ due-process rights were violated when they were

removed to El Salvador without enough notice to allow them to file for

habeas. Id. at 39. And, to remedy that injury, the court ordered the

Government to “facilitate Petitioners’ ability to proceed through habeas.”

Id. at 67. Even assuming jurisdiction, that remedy is internally

contradictory. Because the Government lacks constructive custody, the

Government cannot facilitate plaintiffs’ ability to file for habeas.

     Insofar as the court intended for the Government to facilitate the

filing of habeas petitions in the United States while plaintiffs remain in

custody in El Salvador, the problem is obvious: As the district court itself

ruled, no federal court would have jurisdiction over such petitions since

the United States does not exercise custody over plaintiffs and so cannot

release them. Id. at 27. The ability to file a petition that no court would

have jurisdiction over is no remedy at all. It would not meaningfully

provide plaintiffs with the ability to be heard and bring their claims, the

very injury the district court seeks to redress. Id. at 39.



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     Insofar as the district court instead intended for the Government to

facilitate the filing of habeas petitions by regaining custody, that mirrors

the extraordinary and impermissible relief that the district court already

twice attempted to impose—but that reviewing courts twice rejected. See

J.G.G., 145 S. Ct. at 1005 (vacating orders that purported to require the

Government to retain custody over aliens subject to Proclamation);

J.G.G., 2025 WL 1151208, at *1 (granting administrative stay of order

threatening prosecution unless Government reasserted custody).

     Separation-of-powers principles foreclose the district court’s third

attempt to do the same thing. To regain custody of plaintiffs, the

Government would have to take active steps either to compel or persuade

the Salvadoran government to release them from its custody. The district

court’s order thus yet again attempts to compel the United States to

commit to a course of military or diplomatic action.

     That    extreme    remedy    unconstitutionally    intrudes   on   the

Executive’s plenary power over foreign affairs. “Such matters are so

exclusively entrusted to the political branches of government as to be

largely immune from judicial inquiry or interference.” Harisiades v.

Shaughnessy, 342 U.S. 580, 589 (1952). Article II “authorizes the



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Executive to engag[e] in direct diplomacy with foreign heads of state and

their ministers,” Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 14

(2015), which is why the Supreme Court has “taken care to avoid ‘the

danger of unwarranted judicial interference in the conduct of foreign

policy,’” Biden v. Texas, 597 U.S. 785, 805 (2022). The district court’s

order impermissibly seeks to wrestle this complex matter of foreign

affairs away from the Executive. In doing so, it violates the separation of

powers. See United States v. Curtiss-Wright Exp. Corp., 299 U.S. 304, 319

(1936) (“[T]he President alone has the power to speak or listen as a

representative of the nation.”).

     Article III further bars the relief the district court ordered. As the

district court agreed, plaintiffs “bear the burden” of “demonstrat[ing]

standing for each claim that they press.” Op. at 52–53. These standing

requirements “persist from a lawsuit’s cradle to its grave”; a case becomes

“moot once the federal courts can no longer grant effectual relief.” Ali v.

Adamson, 132 F.4th 924, 930 (6th Cir. 2025) (Sutton, C.J.). Among other

things, “it must be ‘likely,’ as opposed to merely ‘speculative,’ that the

injury will be redressed by a favorable decision.” Dep’t of Educ. v. Brown,

600 U.S. 551, 561 (2023). And when “existence of one or more of the



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essential elements of standing ‘depends on the unfettered choices made

by independent actors not before the courts and whose exercise of broad

and legitimate discretion the courts cannot presume either to control or

to predict,’ . . . it becomes the burden of the plaintiff to adduce facts

showing that those choices have been or will be made in such manner as

to . . . permit redressability of injury.” Lujan v. Defs. of Wildlife, 504 U.S.

555, 561 (1992). Plaintiffs can only demonstrate redressability in such

cases if “substantial evidence of a causal relationship between the

government policy and the third-party conduct . . . leav[es] little doubt as

to . . . the likelihood of redress.” Hecate Energy LLC v. FERC, 126 F.4th

660, 665–66 (D.C. Cir. 2025). Simple “guesswork as to how independent

decisionmakers will exercise their judgment” is insufficient. Id.

      Here, as the district court found, El Salvador is not “indifferent” to

plaintiffs’ detention and has itself chosen “for reasons far outside the ken

of a federal district court . . . to detain Plaintiffs at CECOT.” Op. at 24.

In anticipating that the United States would be able to regain custody

simply by asking, mere “guesswork” is all plaintiffs have. Hecate Energy,

126 F.4th at 665. They provided no facts suggesting that El Salvador

would likely transfer custody if a court ordered the United States to



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facilitate such a transfer. To the contrary, the very facts the district court

relied on to find no constructive custody prove otherwise: El Salvador has

chosen to detain plaintiffs on its own and maintains control over their

detention, outside access, and even transfers, without American input.

Op. at 22; see also id. (observing that El Salvador offered to trade

plaintiffs to their home country of Venezuela in exchange for an equal

number of political prisoners held there by the Maduro regime). 3

     There is thus no evidence that El Salvador would release plaintiffs

“upon nothing more than a request by the United States.” Abu Ali,

350 F. Supp. 2d at 68. That is why plaintiffs’ constructive-custody theory

failed. Accord Gul v. Obama, 652 F.3d 12, 18 (D.C. Cir. 2011) (rejecting

habeas jurisdiction over prisoners transferred to Afghanistan and Sudan,

even though court could “order the Government to take all steps within


3 The district court repeatedly cited Abrego Garcia v. Noem, Op. at 21, 57,

where courts ordered the Government to facilitate the return of an alien
whose removal order prohibited removing him to El Salvador. But that
experience only confirms that the United States lacks control over El
Salvador’s custody determinations. Abrego Garcia was ultimately
returned to the United States only after he was criminally indicted and
the Government presented El Salvador with an arrest warrant. See
Department of Justice Press Conference, Attorney General Bondi
Announces Charges Against Abrego Garcia, June 6, 2025,
https://www.justice.gov/opa/video/attorney-general-bondi-announces-
charges-against-abrego-garcia.


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its power to alleviate their injury,” because injury was “traceable” to a

foreign sovereign with broad discretion on how to act). And for the very

same reasons, the prospect of “facilitation” is too speculative to confer

standing on plaintiffs to seek an injunction on due-process grounds. To

hold otherwise would create an end-run around constructive custody and

habeas jurisdiction: if a respondent lacks custody, simply order them to

gain custody and thereby create jurisdiction. That is too facile.

      In the end, plaintiffs’ only injury traceable to the United States is a

purely past one: that they were removed without adequate notice or an

opportunity to file habeas. Op. at 39. That is not an “ongoing” or

“imminent injury” that can justify prospective injunctive relief. Animal

Legal Def. Fund, Inc. v. Vilsack, 111 F.4th 1219, 1227 (D.C. Cir. 2024).

The district court’s further order granting such relief is thus likely to be

reversed on appeal.

II.   The Remaining Equitable Factors Favor a Stay.

      The other equitable factors also favor a stay. To start, the district

court’s order, if not stayed, will irreparably injure the Government. As

explained, the order intrudes on the Executive’s foreign-affairs authority

by forcing the United States to engage in military actions or sensitive



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diplomatic negotiations to regain custody of over 100 gang members from

a foreign prison. It is difficult to conceive of a more significant harm to

the separation of powers. See Carson v. Am. Brands, Inc., 450 U.S. 79, 84

(1981) (order threatens “serious, perhaps irreparable, consequence” to

the separation of powers).

     This injunction also illustrates why the harm to the Government

and the public interest “merge” where the Government seeks a stay. Nken

v. Holder, 556 U.S. 418, 435 (2009). By binding the Executive’s hands as

to foreign affairs or military action, the district court’s order severely

harms the public interest. Requiring the United States to seek to extract

plaintiffs from Salvadoran custody risks alienating a strategic ally in the

war on foreign terrorist organizations that have devastated countries in

Central and South America and have targeted this nation. See, e.g., ECF

118-3 at 2; ECF 118-4; ECF 118-5 at 1. If the United States were to seek

the return of over 100 individuals that El Salvador has imprisoned, for

the express purpose of giving them an opportunity to seek their release,

the United States’ reliability as a partner in fighting foreign terrorist

organizations would diminish. Other countries, too, may see the United

States as unable to commit to a single course of action in foreign affairs,



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weakening the President’s ability to negotiate with foreign sovereigns on

behalf of the nation.

     Further, the “sensitive and weighty interests of national security

and foreign affairs” warrant the utmost deference to the Executive’s view.

Holder v. Humanitarian L. Project, 561 U.S. 1, 33–35 (2010). Courts have

neither “technical expertise nor official responsibility” to make

judgments that may have wide-ranging effects on the United States’

strategic interests. Ludecke v. Watkins, 335 U.S. 160, 170 (1948).

     Meanwhile, plaintiffs will suffer no harm from a stay of the district

court’s order. They are currently in the custody of El Salvador, and the

United States has no authority over their detention. Even if the district

court’s order were not stayed, plaintiffs would experience no change in

their station. But, absent a stay, the court’s dramatic and unprecedented

order once again threatens to trigger a constitutional crisis of the sort

that this Court defused when it stayed this district court’s last order. The

equities thus decidedly tip in favor of a stay.

III. This Court Should Issue an Immediate Administrative
     Stay.

     Under the district court’s injunction, the government is required to

“submit a Notice to the Court advising how they intend to facilitate the


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ability of the CECOT Class to seek habeas relief” by tomorrow evening.

ECF 147. As set forth above, that requirement is premised on serious

legal errors that would irreparably harm the Government if enforced.

This Court should enter an immediate administrative stay to prevent the

harms from the district court’s erroneous injunction from being inflicted

on the government, just as it did last time the district court demanded

such a precipitous filing. See J.G.G., 2025 WL 1151208, at *1.

                            CONCLUSION

     This Court should issue an administrative stay and stay the district

court’s order pending appeal.




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